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                   Exhibit B
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David Boshea                                                                            May 16,
2007
4839 Clearwater LN .
Naperville, IL. 60564

Dear Dave,

This letter will confmn our preliminary offer for you to consider
employment at Compass Marketing. To asswne the position of Sr.
Account Executive, we will offer you a salary of $180,000 per
year. Additionally, an undefined bonus based on corporate and
personal perfonnance will be possible each year. Additionally, we
will include health insurance, a $500 car allowance, 401 k, home
office expense, lap top, copy machine, and reimbursement of all
business related travel. You will be granted two weeks vacation in
2007, and three weeks in 2008.

In exchange for your execution of our company non-compete and-
non-disclosures we will offer an "involuntary exit package" of 3
times your salary ( 1 year will be immediately vested, with the
additional 2 years accrued over the next three years). This will
cover any involuntary termination from the company, other then for
cause.

Additionally, 100 percent of your business related membership fees
at White Eagle Golf Course will be reimbursed for a total of
$32,000 over three years ($12,000 up front, and $10,000 each
December. Proper expense documentation will of course be required
for each reimbursement.

Upon acceptance of this letter of intent, I will send you a full
employment agreement for your consideration. Call me with any
questions.

Best Regards
           612 3 rd Street, Suite 200, Annapolis, MD 21403; (410) 268-0030; Fax 301-542-0196
                                     jwhite@compassmarketit19it1c.com
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John White
Chairman/ CEO
Compass Marketing Inc.




         612 3rd Street, Suite 200, Annapolis, MD 21403; {410) 268-0030; Fax 301-542~0196
                                  jwhite@compassmarketinginc.com
